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UNITED STATES OF AMERICA

                   V.
                                                                   tL nFr. - I PH 6: 55
                                               CRIMINAL NO. 3:11mJ=:3!1
                                                                    MICHAEL R. HERZ
Ri.chard Castle                                                      UNITED STATES
                                                                   ~ tGISTRAJE JUDGr

a/k/a Ri.chard Parker

a/k/a Ri.chard Joshua Parker

a/k/a Josh Fade

a/k/a Josh

AFFIDAVIT IN SUPPORT OF REQUEST FOR EXTRADITION OF RICHARD CASTLE

      I, Sheila Lafferty, being duly sworn, state that:

      1.     lam a c        izen of        United States of America and a

resident of             State of Ohio.

      2.     I    graduated from the              ity of Dayton School of Law

in 1989.     From 1999 to the present, I have been employed by the

United States Departnent of Justice as an Assistant United States

Attorney for the Southern             strict      Ohio.   My duties are to

prosecute persons charged with criminal violat                    of the laws of

the        ed States.       Dur    my          ice as an Assistant Unit

States Attorney, I have become knowledgeable about                    criminal

laws and procedures of the United States.

      3.     In          course of my dut      s, I       become faniliar with

the charges and evidence in the case of United States v.

                        Crininal No. 3:11mj-31l.

      4.    This          secution arose          an investigat       by the

Department of Homeland Se                y, Homeland Security

Investigations, which revealed that beginning in March 2009,
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CASTLE corrmunicated       a the Internet with a minor female in

Dayton, Ohio, for approximately two years in order to entice her

to engage in sexual activity with him.          In June 2011, CASTLE

traveled from Great Brita        to Dayton, Ohio, and engaged in

sexual activity with the minor female on nUlTlerousoccasions over

a three-week period.

                   SUMMARY OF THE FACTS OF THE CASE

     5.    In approximately March 2009, a 12-year-old female

located       Dayton, Ohio, identified for purposes of this request

as "Minor A," was using a website called "BlogTV.com."

Blogtv.com is an Israeli based platform for user generated live

broadcasts via webcams.       Minor A had signed up as a junior member

and indicat      that she was 13 years old which was the minim~ age

necessary to open an account.        Minor A posted a comment on the

BlogTv.com site and a user identified as "xrjpx" responded.               The

profile for "xrjpx" indicated that he was a 17-year-old male and

the photo depicted of him was 'overexposed, such that the user's

face was not      sible.    Minor A began chatting with "xrjpx"

online.   User"      px" told Minor A that he was 17 years old and

Minor A informed him that she was 13 years old.            During'the

course of their communications, "xrjpx" informed Minor A that his

name was Richard Joshua Parker and that he resided in England.

Richard Joshua             was later identified as Richard CASTLE of

North Hampton, United Kingdom, and will be referenced as "CASTLE"


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for the remainder        this affidavit.       Minor A and CASTLE began

communicating on a regular basis via BlogTv.com, as well as other

Internet media outlets which included, but was not limited to e­

mail, MSN Instant Messenger, Yahoo instant messaging, Skype and

Facebook.     In communicating with one another, Minor A and CASTLE

used a number of screen names and ident             s on these         ous

internet platforms.      CASTLE     so made numerous international

phone calls to Minor A on her                ar telephone.

      6.     As the online relationship progressed between Minor A

and CASTLE, it became sexual          nature.     CASTLE e-mailed Minor A

a picture of his penis and she sent him numerous photos of her in

which her breasts were exposed.           Their chats became explicitly

sexual and they referred to themselves as boyfriend and

girlfriend.     During an instant message conversation in late

spring 2011, CASTLE stated that he was going to visit Minor A in

the United States in June 2011.           Based upon their communications,

Minor A believed that they would have sexual relations during                   s

vis         Every photograph Minor A had seen of CASTLE on the

Internet was overexposed such               she could not clearly see his

face, and every t        they had webcam chats CASTLE expl          ned

his web camera was not working properly.

      7.     CASTLE arrived in the United States in June 2011 and

rented a hotel room at the Best Western Hotel located at 20

Rockridge Road, Englewood, Ohio.          Records from Best Western


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reveal that CASTLE originally booked the trip through Travelocity

  r a two-week trip, however, CASTLE then extended his stay for

an additional week.        CASTLE's initial trip was paid for using an

American Express card and his additional s              was paid for using

a Visa card.        CASTLE also rented two different cars      fro~   Dol

Rent-A-Car, located at 2700 West National Road, Vandalia, Ohio.

Car rental records show that CASTLE rented a Ford Taurus from

June 25, 2011, to July 2, 2011, and then a different Ford Taurus

from July 2, 2011, to July 9, 2011.          CASTLE     so obtained a U.S.

based cellular telephone with which he communicated with Minor A.

        8.    Minor A agreed to meet CASTLE at Helke Park in Vandalia,

Ohio.        Prior to arriving at         Park, CASTLE told Minor A that

he was not 17 years old as          previously stated, but rather

somewhere "between 20 and 40 years" of agel.           CASTLE further

stated to Minor A that "society wouldn't understand, but                    was

coamon for young girls to have relationships with musicians," or

words to that effect.         Minor A went to the park and approached

CASTLE.       CASTLE was older than Minor A expected, but she felt bad

that he had come from so far away, so agreed to spend time with

him.

        9.    Between June 21, 2011 and July 8, 2011, Minor A spent a

great deal of time with CASTLE both at his hotel and elsewhere.

CASTLE took Minor A out to restaurants and went shopping at


  CASTLE was in fact 45 years old.

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various locations.      CASTLE     so met and hung out with a number of

Minor A's friends during his trip to Ohio.           On the second day

Minor A and CASTLE spent together, they returned to his hotel,

the Best Western, and engaged in sexual intercourse.             CASTLE had

brought approximate       three condoms with him.        Over the course of

  s trip, they had sexual intercourse approximately nine times,

eight at       s hotel and once at her residence while her mother was

away.     Minor A performed fellatio on CASTLE approximately three

to five times and CASTLE performed cunnilingus on her

approximately two to four times.

        10.   During CASTLE's stay in Ohio, they traveled to a local

grocery store called Meijer for the purpose of purchasing                ems,

including additional condoms.        Minor A gave CASTLE a          10 ~itty

stuffed animal to take back with him.          CASTLE also purchased and

took with him a Ohio State University t-shirt that Minor A wrote

on in fluorescent markers.       In addition, CASTLE purchased a

Talent guitar for Minor A at Dugan's Pawn Shop, located at 4625

North          , Dayton, Ohio, during his tr        to Ohio and wrote a

love song/poem on          CASTLE also gave Minor A a blue jacket and

a necklace charm bearing the initials "J" and "M,ff                   enting

nicknames CASTLE and Minor A used for one another during the

course of some of their online chats and communications.              Minor A

provided law enforcement with the guitar, jacket, and necklace

charm given to her by CASTLE.


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     11.   After CASTLE returned to the United Kingdom, he

communicated with Minor A via the Internet and stated the "sex

was amazing" or words to that effect.          In addition, an initial

forensic review of Minor A's computer revealed the following

message from CASTLE to Minor A and some             her friends:

           I wanted you all to see that 1m not just some
           old guy who wanted to Fuck n leave, it was
           hard to write and hard to share, I dont in
           truth know if it wil even make any difference
           but I had to do something.      . [ ]         I
           do want you all to know that whether you
           judged me on my age or not, that you kept it
           to yourselves, I can never thank you enough
           for that ? you can see, I truly do love [Minor
           A] and would do anything for her, regardless
           of what happens to me. fuck my life, i just
           read      through again and now im crying,
           again. my mum said, she would pay for [Minor
           A] to move to England, she cant obviously
           because of her age but the fact         she (my
           mum) sees that this whole s       ion is fucked
           up means to me that, I dont fight totally
           alone, although    seems like i am, I love you
           all, j s

     Also discovered on Minor A's computer were a number of

images and fragments of chat logs between CASTLE and Minor A

prior to CASTLE's trip to the United States, to include the

following: (1) a photograph of Minor A depicting her exposed belly

with a diamond shape and the words "ily josh" drawn on it with a

heart and an arrow pointing towards her vaginal area with the

words "for josh";    (2) numerous photographs depicting CASTLE's

overexposed     ce framed by a rose border; and (3) several instant

message chat sessions in which Minor A and CASTLE discuss


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engaging        sexual acts, their relationship including how much

they love each other, CASTLE's plans to travel to the United

States, as well as other topics such as friends and music.

        12.   In October 2011, Minor A confided in a counselor at her

school that she had sexual relations in the          su~~er   of 2011 with

an adult male, whom she identi        ed to the counselor as Richard

Joshua Parker.      The school counselor contacted the               pol

department.      During interviews with law enforcement authorities,

Minor A provided the          s set forth above pertaining to her

relationship with Parker, who was later identified as CASTLE.

Minor A stated that CASTLE was very manipulative and had a way

  th words.

        13.   CASTLE's true identity was confirmed through

information he provided to the hotel and car rental locations in

Ohio.     Car rental records show that CASTLE indicated his address

as 118 Fullingdale Road, Northampton, Great Britain, NN3 2QJ.

        14.   A query of U.S. travel record databases confirm

CASTLE's entry into the United States on June 20, 2011, at

Philadelphia International Airport (?HL) , via US Airways flight

729, using UK-issued passport number 502008308.            Upon entry,

CASTLE declared his destination address to be 20 Rockridge Road,

Englewood, Ohio, the address of the Best Western Hotel.              U.S.

travel records also confirm that CASTLE departed the United




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States on JJly 9, 2011, via Charlotte, North Carolina (NC), to

London Gatwick on US Airways flight 732.

     15.   A photograph of CASTLE was taken by the US-VISIT system

when he entered the United States in JJne 201:.             U.S. law

enforcement interviewed multiple acquaintances of Minor A who met

CASTLE in the   su~~er       2011 during his visit to the United

States.    During these interviews, law enforcement showed the US­

VISIT photograph to each of these individuals, each of whom

recognized the person         the photograph as the person he/she

knows as "Josh", Josh Parker", and/or "Josh Fade".2             Minor A was

also shown the same photo of CASTLE, and she identified                 as the

individual she knows to be "Richard Jo              Parker."

     :6.   CASTLE     s a prior conviction in the United Kingdom

from January 8, 2003, for possession of indecent photographs of

children, and making indecent photographs of children.               CASTLE

was required to register as a sex offender as a result of this

prior conviction.

                    PROCEDURAL HISTORY OF THE CASE

The Charoing Process

     17.   Under the laws of the United States, a criminal

prosecution may be    co~~enced   by the filing of a criminal

complaint in a United States Dist         ct Court.     A criminal




2"Josh", "Josh Parker", and "Josh Fade" are known alias of
CASTLE's.

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conplaint is a written statement of essential facts constituting

an offense charged and is made under oath before a united States

Magistrate Judge.        A criminal complaint must establish that

probable cause exists to believe that an offense has been

committed and that the defendant named in the complaint committed

it.     If satisfied that the complaint sets forth a sufficient

factual basis to establish probable cause, the United States

Magistrate Judge orders the issuance of a warrant for the arrest

of the defendant named in the complaint.

        18.   On November 18, 2011, Special Agent Mark Salloum (SA

Salloum) of the Department of Homeland Security, Homeland

Security Investigations          filed a criminal complaint before United

States Magistrate Judge Michael R. Merz of the United States

Di       ct Court for the Southern           strict of Ohio formally

charging Richard CASTLE with criminal offenses against the laws

of the United States.         On that same day, based on the complaint,

United States Magistrate Judge Michael R. Merz signed an arrest

warrant for Richard CASTLE.

        19.   On December 1, 2011, SA Salloum filed a second criminal

complaint,        so before United States Magistrate Judge Michael R.

Merz of the United States District Court for the Southern

District of Ohio formally charging Richard CASTLE with criminal




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offenses against the laws of the United States. 3           It is the

practice of the United States District Court             r the Southern

District of Ohio to retain the original complaint and file

with the records of the court.        Therefore, I have obtained a copy

of the criminal complaint filed on December 1, 2011, certified as

true and accurate, from the clerk of the court, and have attached

it to this affidavit as Exhibit A.

        20.     On December 1, 2011, based on this complaint, United

States Magistrate Judge Michael R. Merz signed an arrest warrant

for Richard CASTLE.        It is the practice of the united States

District Court for the Southern District of Ohio to retain the

original arrest warrant and file it with the records of the

court.        Therefore, I have obtained a copy of the arrest warrant,

certi         d as true and accurate, from the clerk of the court, and

have attached ii to this affidavit as Exhibit B.

The Charaes and Pertinent United States Law

        21.    The complaint charges in two counts that CASTLE

co~mitted      the following offenses:

Count 1:             coercion and enticement    a minor, in violation
                     of Title 18 U.S.C. § 2422(b), carrying a maximum
                     penalty of li   imprisonment; and



3  The December 1, 2011 criminal complaint was filed to correct a
typographical error relating to one of the statutes referenced in
the original criminal complaint. The original criminal compl
also referenced Minor A by her initials, and the initials were
replaced with "Minor A" in the second complaint. The first and
second complaints are otherwise the same.

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Count 2:          travel with intent to engage in illi
                  conduct with a minor, in violation of Title 18
                  U.S.C. § 2423(b), carrying a maximum penalty of
                  30 years imprisonment.


     The United States requ'ests the extradition of CASTLE for

both of these offenses.          Each count charges a separate offense.

Each offense is         shable under a statute that (1) was the duly

enacted law of the United States at the t              the offense was

co~~itted,    (2) was the duly enacted law of the United States at

the time the complaint was filed, and (3) is currently in effect.

Each offense is a felony offense punishable under United States

law by more than one year of imprisonment.            I have attached

copies of the pertinent sections of these statutes and the

applicable penalty provisions to this affidavit as Exhibit C.

Count 1

     22.     Count 1 charges CASTLE with knowingly using any

facility of         state or foreign COITcrLerce to knowingly persuade,

induce,        ce, and coerce an individual who had not attained the

age of 18 years to engage           any sexual activity for which any

person could be charged with an offense, in violation of Title

18, United States Code,      §   2422(b).

     23.     To satisfy its burden of proof and convict CASTLE on

Count 1, the government, at trial, must establish beyond a

reasonable doubt each of the following essential elements:              (1)

that CASTLE knowingly used a facil          y or means of interstate or


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           commerce to persuade, induce, entice or coerce an

individual under the age of eighteen, i.e., Minor A, to engage in

sexual activity;    (2) that CASTLE believed that such individual

was less than 18 years of age; and (3) that CASTLE could have

been charged with a criminal offense for engaging                 the

specified sexual activity.

          soliciting and engaging in sexual acts with Minor A,

CASTLE was in violation         Ohio Revised    Code~   Section

2907.04 (A)&(B), which criminalizes unlawful sexual conduct with a

minor, and also Ohio Revised Code, Section 2907.07(B) and (D) (1),

which criminalizes importuning.

     24.    The essential elements referenced above will be shown

at trial by the testimony of Minor A, recovered online chats

between Minor A and CASTLE, the testimony of other witnesses who

met CASTLE while he was in the United States in June and July of

2011, business records from Best Western Hotel and Dollar Rent-A­

Car, gi    s given by CASTLE to Minor A, and travel records showing

CASTLE's entry into and exit out the United States.

Counts 2

     25.    Counts 2 charges CASTLE with traveling in interstate

and foreign commerce for the purpose of engaging any in illicit

sexual conduct with another person, in violation of Title 18,

United States Code,    §   2423(b).




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        26.   To satisfy its burden of proof and convict CASTLE on

Count 2, the government, at trial, must establi              beyond a

reasonable doubt each of the following essenti              elements:    (1)

that CASTLE traveled in interstate or foreign commerce; and (2)

that CASTLE's purpose          traveling in interstate or foreign

commerce was to engage in illicit sexual conduct with another

person, i.e., Minor A.

        27.   The essential elements referenced above will be shown

at trial by the testimony of Minor A, recovered online chats

between Minor A and CASTLE, testimony of other witnesses who met

CASTLE while he was in the United States in June and July of

2011, business records from Best Western Hotel and Dollar Rent-A-

Car, gifts given by CASTLE to Minor             travel records showing

CASTLE's entry into and exit out the United States, and prior

offenses of child molestation by CASTLE to demonstrate his              sexua~


interest in minors.

Description of Fuaitive

        28.   Richard Andrew   CAS~LE   is a citizen of the United

Kingdom, born on April 27, 1966,             Ascot, United Kingdom.      He is

described as a Caucasian male, with a height               5 feet 9 inches,

brown eyes and black hair.       Aliases include Richard Andrew

Castle, Richard Parker, Richard Joshua Parker, Josh Fade, and

Josh.     CASTLE holds UK passport nurrber 502008308, issued on April

28, 2011, in the United Kingdom.


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     29.    I have attached a photograph           CASTLE to this

affidavit as Exhibit D.       This photo.graph has been identified by

the acquaintances of Minor A as the person they met through Minor

A in June and July of 2011, who they know as "Josh," "Josh

Parker," and/or "Josh Fade," and also by Minor A as the person

she knows to be "Richard Joshua Parker."



                                 CONCLUSION

     30.   I have attached the following documents in support of

this request for the extradition of Richard Castle:

     A.    Exhib   A is a certi         d copy of the complaint dated
           December 1, 2011.

     B.            B is a certified copy of the arrest warrant
           dated December 1, 2011.

     C.    Exhibit C is a copy    the pertinent sections of
           following statutes and their penalties:

                       Ie 18, United States Code, § 2422(b);
                 Tit      18, United States Code, § 2423(b);

                 Ohio Revised Code, Section 2907.04; and
                 Ohio Revised Code, Section 2907.07.

     D.    Exhibit D is a photograph of Richard CASTLE.




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     31.   I have thoroughly reviewed the government's evidence

against Richard CASTLE and attest that this evidence indicates

that CASTLE is guilty of the offenses charged in the complaint.



                      \~
     Executed this -----r­ day of December, 2011, at Dayton, Ohio,

united States of America.

                                   CARTER STEWART
                                   United States Attorney




                                            LAFFERTY
                                                                 Attorney


     Signed and sworn to before me                               December,

2011, at Dayton, Ohio.




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